
USCA1 Opinion

	










          March 29, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1795

                             BARBARA CONCEPCION-MORALES,

                                Plaintiff, Appellant,

                                          v.

                           COMMISSIONER OF SOCIAL SECURITY,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF PUERTO RICO

                    [Hon. Jose Antonio Fuste, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                          Boudin and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Juan A. Hernandez Rivera and Raymond  Rivera Esteves on brief  for
            ________________________     _______________________
        appellant.
            Guillermo  Gil,  United  States Attorney,  Maria  Hortensia  Rios-
            ______________                             _______________________
        Gandara, Assistant United States Attorney, and Sara Gardiner Kilkenny,
        _______                                        ______________________
        Attorney,  Region  I, Social  Security  Administration,  on brief  for
        appellee.


                                 ____________________


                                 ____________________


                 Per Curiam.   Claimant Jose Gonzalez  appeals a district
                 __________

            court order that upheld a decision by the Commissioner of the















            Social   Security   Administration  that   denied  claimant's

            application for child's disability benefits.  See 42 U.S.C.  
                                                          ___

            402(d)(1).   Claimant, who was  18 when he  filed his initial

            application, alleged that  he suffered from  disabling mental

            retardation since  birth.1   We have thoroughly  reviewed the
                                     1

            record and the parties'  briefs on appeal.  We  conclude that

            the     district  court   was  correct  in   concluding  that

            Commissioner's decision is supported by substantial evidence.

            We add the following comments.

                 1.    Claimant's contention  that  the  record does  not

            support  the  ALJ's  conclusion  that  he  is  able  to  work

            independently without close supervision is belied by the fact

            that claimant adduced  no evidence to  show that he  required
                                   __

            special supervision to perform any of the part time jobs that

            he had done  in the past.   To be  sure, claimant's  teachers

            reported that he required "direct supervision" to perform and

            complete tasks  in the vocational soldering  program in which

            claimant was  enrolled.   But this  does  not establish  that










                                
            ____________________

               1We  note  that  the  named  plaintiff  in  this  case  is
               1
            claimant's  mother,  Barbara Concepcion-Morales.   Claimant's
            disability application was based  on her earnings record, and
            she completed   the disability claim application forms on her
            son's  behalf.   As claimant  Gonzalez is  the real  party in
            interest, we speak of him as the sole appellant.















            claimant  requires  close   supervision  to  perform   simple

            unskilled work.2  
                           2

                 2.  The  ALJ implicitly relied on the Grid  to find that

            claimant  was  capable  of  the  full  range  of  skilled and

            unskilled  work  at all  exertional  levels.   See  Ortiz  v.
                                                           ___  _____

            Secretary  of Health and Human Services, 890 F.2d 520, 524 n.
            ________________________________________

            4 (1st Cir. 1989).  This conclusion is supportable insofar as

            it pertains  to  unskilled work.    The evidence  shows  that

            claimant had at most moderate limitations in his ability meet

            the  basic demands of unskilled  work.3  While  it would have
                                                  3

            been  preferable  for  the   ALJ  to  have  taken  vocational

            testimony, the  record suggests  that claimant's mild  mental

            retardation  did  not  significantly  diminish  the  base  of

            unskilled  work  that  is otherwise  available  to  claimant,

            particularly  given  the  fact  that  this  claimant  has  no
                                                                       __

            exertional limitations.  

                 3. Contrary  to claimant's  argument on appeal,  the ALJ

            did not impermissibly find that claimant's impairment was not

            severe  within the  meaning of  step two  in contrast  to the

                                
            ____________________

               2Similarly,  while  Dr.  Cabiya  reported  that claimant's
               2
            ability  to  learn  a  simple  repetitive  task  under  close
                     to  learn
            supervision appeared  appropriate, he did not  say that close
            supervision was required for claimant to continuously perform
            simple  unskilled jobs.  The record suggests that this is not
            the case. 

               3See SSR  85-15 (basic  demands of unskilled  work include
               3___
            ability  to   carry  out  simply  instructions,   to  respond
            appropriately to supervision and  coworkers, and to deal with
            changes in work setting).

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            opinions of the Commissioner's  consultants.  While the ALJ's

            PRTF contained  ratings  that correspond  with  a  non-severe

            impairment,  the   remainder  of  the   ALJ's  opinion  holds

            otherwise.  Under these circumstances, we disregard the ALJ's

            contrary ratings. See Ortiz, 890 F.2d at 525 n. 6.
                              ___ _____

                 Affirmed.
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